        Case
         Case3:15-cr-00013-RCJ-WGC             Document 163        Filed 06/21/16     Page 1 of 3




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 6                              UNITED STATES DISTRICT COURT

 7                                      DISTRICT OF NEVADA

 8 UNITED STATES OF AMERICA,                         ) 3:15-CR-013-RCJ-(WGC)
                                                     )
 9                         Plaintiff,                )
                                                     )
10          v.                                       ) Preliminary Order of Forfeiture
                                                     )
11 LORENA TELLO,                                     )
                                                     )
12                         Defendant.                )
13          This Court finds that defendant LORENA TELLO pled guilty to Count Eleven of a

14 Thirty-Two-Count Fourth Superseding Indictment charging her with Money Laundering in

15 violation of Title 18, United States Code, Section 1956(a)(1)(B)(i). Fourth Superseding

16 Indictment, ECF No. 114; Plea Agreement, ECF No. 146; Change of Plea, ECF No. 153.

17          This Court finds defendant LORENA TELLO agreed to the forfeiture of the property set

18 forth in the Plea Agreement and the Forfeiture Allegation of the Fourth Superseding Indictment.

19 Fourth Superseding Indictment, ECF No. 114; Plea Agreement, ECF No. 146; Change of Plea,

20 ECF No. 153.

21          This Court finds, pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2), the United States of

22 America has shown the requisite nexus between property set forth in the Plea Agreement and the

23 Forfeiture Allegation of the Fourth Superseding Indictment and the offense to which defendant

24 LORENA TELLO pled guilty.

25          The following property is subject to forfeiture pursuant to Title 18, United States Code,

26 Section 982(a)(1):
           Case
            Case3:15-cr-00013-RCJ-WGC
                  3:15-cr-00013-RCJ-WGC Document
                                        Document163   Filed
                                                 1 Page  2 of06/21/16
                                                              3                         Page 2 of 3




 1                  1. a 2007 Nissan Maxima SL, vehicle identification number (VIN)

 2                      1N4BA41E27C866501, registered to Michael Perez-DeGracia and Lorena

 3                      Tello; and

 4                  2. a personal money judgment of forfeiture in the amount of $156,500.

 5 (all of which constitutes property).

 6           This Court finds the United States of America is now entitled to, and should, reduce the

 7 aforementioned property to the possession of the United States of America.

 8           NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that

 9 the United States of America should seize the aforementioned property.

10           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED all right, title, and interest

11 of LORENA TELLO in the aforementioned property is forfeited and is vested in the United

12 States of America and shall be safely held by the United States of America until further order of

13 the Court.

14           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the United States of

15 America shall publish for at least thirty (30) consecutive days on the official internet government

16 forfeiture website, www.forfeiture.gov, notice of this Order, which shall describe the forfeited

17 property, state the time under the applicable statute when a petition contesting the forfeiture must

18 be filed, and state the name and contact information for the government attorney to be served

19 with the petition, pursuant to Fed. R. Crim. P. 32.2(b)(6) and Title 21, United States Code,

20 Section 853(n)(2).

21           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that any individual or

22 entity who claims an interest in the aforementioned property must file a petition for a hearing to

23 adjudicate the validity of the petitioner’s alleged interest in the property, which petition shall be

24 signed by the petitioner under penalty of perjury pursuant to Title 21, United States Code,

25 Section 853(n)(3) and Title 28, United States Code, Section 1746, and shall set forth the nature

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        Case
         Case3:15-cr-00013-RCJ-WGC
               3:15-cr-00013-RCJ-WGC Document
                                     Document163  Filed05/20/16
                                              158 Filed 06/21/16 Page
                                                                  Page33
                                                                       ofof
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 1 and extent of the petitioner’s right, title, or interest in the forfeited property and any additional

 2 facts supporting the petitioner’s petition and the relief sought.

 3          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a petition, if any, must be

 4 filed with the Clerk of the Court, Bruce R. Thompson U.S. Courthouse and Federal Building,

 5 400 South Virginia Street, 3rd Floor, Reno, NV 89501, no later than thirty (30) days after the

 6 notice is sent or, if direct notice was not sent, no later than sixty (60) days after the first day of

 7 the publication on the official internet government forfeiture site, www.forfeiture.gov.

 8          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a copy of the petition, if

 9 any, shall be served upon the Asset Forfeiture Attorney of the United States Attorney’s Office at

10 the following address at the time of filing:

11                  Greg Addington
                    Assistant United States Attorney
12                  100 West Liberty Street, Suite 600
                    Reno, NV 89501
13

14          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the notice described

15 herein need not be published in the event a Declaration of Forfeiture is issued by the appropriate

16 agency following publication of notice of seizure and intent to administratively forfeit the above-

17 described property.

18          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Clerk send copies

19 of this Order to all counsel of record.

20          DATEDThis
            Dated: this 21st
                        ___ day of ____________,
                                   June, 2016.   2016.

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                                                    UNITED STATES DISTRICT JUDGE
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